Case 2:04-cv-02832-BBD-dkv Document 6 Filed 05/19/05 Page 1 of 2 Page|D 18

FH.E£'J £3*1" __ ,_ ~D".U.

UNITED STATES DISTRICT COURT

 

 

KAVIN M. C.ARTER JUDGMENT IN A CIVIL
CASE

v-

CITIFINANCIAL MORTGAGE CO., et al. CASE NO: 04-2832-D

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order Of
Dismissal entered on May 17, 2005, this cause is hereby dismissed.

APPROVED :

 

ITED STATES DISTRICT COURT

J/J E`ZOBERT R. DI TF\OLiD

Date Clerk of Court

»/Mw

(B:y¥ ¢$eputy Clerk

 

This document emered on the docket sheet in compliance
muth Rufe 58 and/or 79(&) FRCP on ' ’

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:04-CV-02832 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

 

Kavin M. Carter
6894 Rockbrook Drive
i\/lemphis7 TN 38141

Honorable Bernice Donald
US DISTRICT COURT

